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                               UNITED STATES OF AMERICA
                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION




 UNITED STATES OF AMERICA,           )
                                     )
             Plaintiff,              )                  Case No. 1:12-cr-00132
                                     )
 v.                                  )                  Honorable Robert Holmes Bell
                                     )
 FRANCISCO MARTINEZ, JR. ,           )
                                     )
             Defendant.              )
 ____________________________________)


                              REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

 case on April 11, 2014, after receiving the written consent of defendant and all counsel. At the

 hearing, defendant Francisco Martinez, Jr. entered a plea of guilty to Count 1 and Count 15 of the

 Fourth Superseding Indictment in exchange for the undertakings made by the government in the

 written plea agreement. In Count 1 of the Fourth Superseding Indictment, defendant is charged with

 racketeering conspiracy in violation of 18 U.S.C. § 1962(d). In Count 15 of the Fourth Superseding

 Indictment, defendant is charged with conspiracy to possess with intent to distribute and to distribute

 100 kg or more of marijuana in violation of 21 U.S.C. §§ 846, 841(a) and 841(b)(1)(B)(vii) On the

 basis of the record made at the hearing, I find that defendant is fully capable and competent to enter

 an informed plea; that the plea is made knowingly and with full understanding of each of the rights

 waived by defendant; that it is made voluntarily and free from any force, threats, or promises, apart
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 from the promises in the plea agreement; that the defendant understands the nature of the charge and

 penalties provided by law; and that the plea has a sufficient basis in fact.

                I therefore recommend that defendant's plea of guilty to Count 1 and Count 15 of the

 Fourth Superseding Indictment be accepted, that the court adjudicate defendant guilty, and that the

 written plea agreement be considered for acceptance at the time of sentencing. Acceptance of the

 plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

 specifically reserved for the district judge.



 Date: April 14, 2014                                   /s/ Ellen S. Carmody
                                                       ELLEN S. CARMODY
                                                       United States Magistrate Judge



                                       NOTICE TO PARTIES

                 You have the right to de novo review of the foregoing findings by the district judge.
 Any application for review must be in writing, must specify the portions of the findings or proceed-
 ings objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
 MICH. L.CR.R. 11.1(d).




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